            Case 2:17-cv-01434-JFC Document 93 Filed 03/22/18 Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ARCONIC INC.,                                )       CIVIL ACTION NO. 17-1434
                                             )
               Plaintiff,                    )       JUDGE JOY FLOWERS CONTI
                                             )
                                             )
                                             )
                                             )
                                             )
                                             )
       v.                                    )
                                             )
                                             )
                                             )
NOVELIS INC. and NOVELIS CORP,               )
                                             )
               Defendants.                   )




ORDER GRANTING IN PART AND DENYING IN PART THE MOTION TO DISMISS


       Defendants Novelis Inc and Novelis Corp., having filed a Motion to Dismiss [Dkt. No.

54] certain counts of Plaintiff’s Complaint, and Arconic having filed its Opposition thereto [Dkt.

No. 59]; and a Reply brief having been filed [Dkt. No. 81]; and the full briefing and oral

argument having been considered, the Special Master Recommends that the Court enter the

terms of the following Order in furtherance of Report & Recommendation #5:

:



For the reasons set forth in the Special Master’s Report & Recommendation #5,



IT IS THEREFORE ORDERED that:
          Case 2:17-cv-01434-JFC Document 93 Filed 03/22/18 Page 2 of 3



A. Novelis’ Motion to Dismiss is GRANTED IN PART and DENIED IN PART, as follows:

    Count I is GRANTED without prejudice; Arconic shall be granted leave to amend Count I

    in accordance with the provisions of Report & Recommendation #5 insofar as they pertain to

    Count I, in the following manner: Amended Count I shall state a breach of contract claim

    based upon a claim of misappropriation of trade secrets, incorporating by reference the

    pleading to be filed by Arconic in compliance with Report & Recommendation #4; and, if

    Arconic wishes to plead, in the alternative, a count alleging breach of contract based upon a

    claim of misuse of confidential proprietary information, it shall do so via a new count in the

    amended complaint that likewise incorporates by reference the confidential proprietary

    information identified in the pleading to be filed by Arconic in compliance with Report &

    Recommendation #4, and indicating that it is an alternate theory of the case;

B. Novelis’ Motion to Dismiss Count II is DENIED at this time to the extent that it is premised

    upon the failure to distinguish whether employees of Novelis Inc. or Novelis Corp. took the

    actions complained of; The Motion to Dismiss Count II is GRANTED on the ground of

    insufficient identification of the “confidential proprietary information” alleged to have been

    misused by Novelis Corp. ; with leave to amend Count II to incorporate by reference the

    identification chart to be filed by Arconic that shall identify the confidential proprietary

    information alleged to have been misused pursuant to the terms of the Report &

    Recommendation #3 and #4.

C. Novelis’ Motion to Dismiss Counts III and IV is GRANTED without prejudice; Arconic

    shall be granted leave to amend Counts III and IV to incorporate by reference the Trade

    Secrets/Confidential Proprietary Information identification chart filed in compliance with

    Report & Recommendation #3 and #4;
         Case 2:17-cv-01434-JFC Document 93 Filed 03/22/18 Page 3 of 3



D. Novelis’ Motion to Dismiss Counts V, VI and VIII are GRANTED with prejudice, except

    that Arconic may continue to seek injunctive relief in the “Relief Sought” section of its

    Complaint;



SO ORDERED.

                                                                    BY THE COURT:




March 22, 2018                                       s/ Faith S. Hochberg________________
Date                                                 Hon. Faith S. Hochberg, U.S.D.J. (Ret.)
                                                                            Special Master




Fully briefed: Dkt. Nos. 54, 59 (Arconic Opposition), 81 (Novelis Reply).
